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                                                                                12                             UNITED STATES DISTRICT COURT
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                13                           NORTHERN DISTRICT OF CALIFORNIA

                                                                                14

                                                                                15 RICHARD LEE, individually and on behalf of      Case No. 5:24-cv-02386-PCP
                                                                                   all others similarly situated,
                                                                                16                                                 DEFENDANT PLEX, INC.'S AND PLEX
                                                                                                               Plaintiff,          GMBH'S NOTICE OF MOTION TO
                                                                                17       v.                                        DISMISS FIRST AMENDED
                                                                                                                                   COMPLAINT AND STRIKE CLASS
                                                                                18 PLEX, INC. and PLEX GMBH,                       ALLEGATIONS, OR IN THE
                                                                                19                                                 ALTERNATIVE TO COMPEL
                                                                                                             Defendants.           ARBITRATION ON AN INDIVIDUAL
                                                                                20                                                 BASIS OR TRANSFER VENUE; AND
                                                                                                                                   MEMORANDUM OF POINTS AND
                                                                                21                                                 AUTHORITIES
                                                                                22
                                                                                                                                   Date: October 10, 2024
                                                                                23                                                 Time 10:00 a.m.
                                                                                                                                   Courtroom: 8
                                                                                24                                                 Judge: The Honorable P. Casey Pitts

                                                                                25                                                 [Filed Concurrently with Declaration of
                                                                                                                                   Ricardo Castro and Declaration of Angelo
                                                                                26
                                                                                                                                   Spenillo In Support of Motion]
                                                                                27

                                                                                28
                                                                                     34254817.1:12373-0010                      -1-
                                                                                     DEFENDANT PLEX, INC.'S AND PLEX GMBH'S NOTICE OF MOTION TO DISMISS FIRST AMENDED
                                                                                                         COMPLAINT AND STRIKE CLASS ALLEGATIONS
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                                                                                 1            TO THE CLERK OF THE ABOVE-ENTITLED COURT, AND PARTIES OF

                                                                                 2 RECORD:

                                                                                 3            PLEASE TAKE NOTICE that on October 10, 2024 at 10:00 a.m., or as soon thereafter as

                                                                                 4 the matter may be heard by the above-entitled Court, located at San Jose Courthouse, Courtroom 8

                                                                                 5 – 4th Floor, 280 South 1st Street, San Jose, CA 95113 Defendants, Plex, Inc. and Plex GmbH

                                                                                 6 (collectively, "Plex") will, and hereby does, move this Court for an order dismissing Plaintiff,

                                                                                 7 Richard Lee's, First Amended Class Action Complaint pursuant to Fed.R.Civ.P. 12(b)(2) for failing

                                                                                 8 to plead facts sufficient to exert personal jurisdiction over Plex GmbH, and pursuant to Fed.R.Civ.P.

                                                                                 9 12(b)(6)        for failing to plead facts sufficient to support his causes of action against Plex.

                                                                                10 Alternatively, Plex will, and hereby does move this Court for an order striking Plaintiff's class

                                                                                11 allegations pursuant Fed.R.Civ.P. 12(f) for failure to meet the requirements of Fed.R.Civ.P. 23(a)
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                                                                                12 and (b). Alternatively, Plex will, and hereby does move this Court for an order compelling
                                        501 WEST BROADWAY, SUITE 1200
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                                                                                13 arbitration on an individual basis pursuant to Fed.R.Civ.P. 12(b)(3) and 9 U.S.C. § 4. Alternatively,

                                                                                14 Plex will, and hereby does move this Court for an order transferring venue to the United States

                                                                                15 District Court for the District of Delaware pursuant to Fed.R.Civ.P. 12(b)(3) and 28 U.S.C. § 1404.

                                                                                16 Plex further requests all other relief as this Court deems just and equitable.

                                                                                17            The motion is made based on the attached memorandum of points and authorities, the

                                                                                18 Declarations of Angelo Spenillo and Ricardo Castro and accompanying exhibits, the record in this

                                                                                19 action, and such other argument and evidence as may be presented at the time of hearing.

                                                                                20 DATED: August 19, 2024                       WOOD, SMITH, HENNING & BERMAN LLP

                                                                                21

                                                                                22
                                                                                                                                By:          /s/ Jacob P. Wilson
                                                                                23                                                           JACOB P. WILSON
                                                                                                                                             CHRISTOPHER J. SEUSING
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                                                                                26                                                           Attorneys for Defendants, PLEX, INC., AND
                                                                                                                                             PLEX GMBH
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                                                                                   No. 222CV03966MEMFJEMX, 2022 WL 4465549 (C.D. Cal. Sept. 23, 2022) ................ 22
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                                                                                   VirtualMagic Asia, Inc.,
                                                                                24 99 Cal.App.4th 228, 121 Cal.Rptr.2d 1 (2002) .................................................................... 12

                                                                                25 Wang v. Life Ins. Co. of the Sw.,
                                                                                   No. 19-CV-01150-YGR, 2019 WL 13201949 (N.D. Cal. Dec. 19, 2019) .......................... 25
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                                                                                27 White v. Ring LLC,
                                                                                   No. 22-cv-6909, 2023 WL 1097554 (C.D. Cal. Jan. 25, 2023) ............................................ 24
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                                                                                 1 Yih v. Taiwan Semiconductor Mfg. Co., Ltd.,
                                                                                   No. 5:20-CV-04184-EJD, 2020 WL 6290377 (N.D. Cal. Oct. 27, 2020), aff'd sub nom.
                                                                                 2 Yih v. Taiwan Semiconductor Mfg. Co., Ltd, No. 20-17237, 2021 WL 378309
                                                                                   (9th Cir. Aug. 26, 2021) ....................................................................................................... 11
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                                                                                 4 Zinser v. Accufix Research Institute, Inc.,
                                                                                   253 F.3d 1180 (9th Cir.2001) ................................................................................................ 20
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                                                                                   OTHER AUTHORITY
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                                                                                      39 F.R.D. 69, 102 (1966) ...................................................................................................... 20
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                                                                                 8 H.R. Rep. 112-312 (2011) ..................................................................................................... 13

                                                                                 9 STATUTES

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                                                                                      28 U.S.C. § 1404 .................................................................................................................. passim
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                                                                                15 California Civil Code § 1799.3 ............................................................................................. passim

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                                                                                 1                       MEMORANDUM OF POINTS AND AUTHORITIES

                                                                                 2 I.       INTRODUCTION

                                                                                 3          Richard Lee ("Plaintiff"), individually and as the personal representative of a putative class,

                                                                                 4 filed his First Amended Class Action Complaint ("FAC") on August 5, 2024. The FAC alleges Plex

                                                                                 5 installed tracking pixels on its publicly facing website, which transmitted Plaintiff's and Class

                                                                                 6 Members' viewing activities to third-party providers like Meta/Facebook without consent. See FAC,

                                                                                 7 at ¶¶1-2. Plaintiff alleges causes of action for (1) violation of the Video Privacy Protection Act (18

                                                                                 8 U.S.C. § 2710, et seq) (the "VPPA") and (2) violation of California Civil Code § 1799.3. Plex

                                                                                 9 respectfully requests this court dismiss this matter in its entirely and strike class allegations; or

                                                                                10 alternatively compel arbitration; or alternatively transfer this matter to the United Stated District

                                                                                11 Court for the District of Delaware.
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                                                                                12 II.      STATEMENT OF RELEVANT FACTS
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                                                                                13          Plex provides its users with access to text, graphics, photos, sounds, audio and videos in the

                                                                                14 form of news reports, videos, and music (collectively, the "Content") streamed over the internet to

                                                                                15 its user's internet-connected devices (the "Device"). See Declaration of Ricardo Castro, at ¶ 5. Plex's

                                                                                16 Terms of Service ("TOS") govern a user's access to and use of the Plex Solution, which includes its

                                                                                17 website located at https://www.plex.tv/, (the "Website"), its video services, the Content, Plex's

                                                                                18 software, mobile or web applications, or any related Plex services (collectively, "the Plex Solution").

                                                                                19 Id., at ¶ 6; Ex. A. Plex's privacy policy ("Privacy Policy") governs the method by which Plex

                                                                                20 collects, uses, and shares user's personal information when a user uses the Plex Solution. Id., at ¶ 7;

                                                                                21 Ex. B. Plaintiff alleges that "in or around April 2020, Plaintiff created a Plex account using the

                                                                                22 'Continue with Facebook' button." See FAC at ¶ 64. To create a Plex account, Plex users, including

                                                                                23 Plaintiff, complete the registration process on the Plex Userflow (defined below). See Declaration

                                                                                24 of Ricardo Castro, at ¶ 9. A user cannot advance to the next step and complete the Plex account

                                                                                25 registration process until the user affirmatively clicks the "Continue with Google", "Continue with

                                                                                26 Facebook", "Continue with Apple" or "Create an Account" button within the Plex Userflow, which

                                                                                27 are displayed immediately next to the message that expressly states “By creating an account or

                                                                                28 continuing to use a Plex application, website, or software, you acknowledge and agree that you have
                                                                                    34254817.1:12373-0010                            -1-                                              .
                                                                                     DEFENDANT PLEX, INC.'S AND PLEX GMBH'S NOTICE OF MOTION TO DISMISS FIRST AMENDED
                                                                                                         COMPLAINT AND STRIKE CLASS ALLEGATIONS
                                                                                       Case 5:24-cv-02386-PCP Document 22 Filed 08/19/24 Page 12 of 37




                                                                                 1 accepted the Terms of Service and have reviewed the Privacy Policy." (the "Sign-In Wrap

                                                                                 2 Agreement"). Id., at ¶¶ 10,16. At the time of Plaintiff’s alleged account creation in or around April

                                                                                 3 2020, the Plex Userflow was substantially the same as the screenshot depicted below (the "Plex

                                                                                 4 Userflow"):

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                                                                                17 Id., at ¶ 14, Ex. C. When a user, including Plaintiff, selects the "Continue With Facebook" button

                                                                                18 within the Plex Userflow, they are automatically presented with a screen containing the Facebook

                                                                                19 Userflow (defined below). Id., at ¶ 11. A user, including Plaintiff cannot advance to the next step

                                                                                20 and complete the Plex account registration process until the user grants Plex access to their name,

                                                                                21 profile picture, and email address and until the user affirmatively selects the "Continue" button

                                                                                22 within the Facebook Userflow, which is displayed immediately next to a hyperlink containing Plex's

                                                                                23 Privacy and TOS and immediately next to the message that expressly states "by continuing, Plex

                                                                                24 will receive ongoing access to the information you share and Facebook will record when Plex

                                                                                25 Access it. Learn more about this sharing and the settings you have." Id., at ¶ 11, Ex. D. At the time

                                                                                26 Plaintiff allegedly created an account in or around April 2020 by selecting the "Continue With

                                                                                27 Facebook" button, the Facebook Userflow was substantially the same as the screenshot depicted

                                                                                28 below (the "Facebook Userflow"):

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                                                                                      DEFENDANT PLEX, INC.'S AND GMBH'S NOTICE OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                                                                                13
                                                                                     Id., at ¶ 15, Ex. D. As shown in both of the above screenshot, the words “Terms of Service” and
                                                                                14
                                                                                     “Privacy Policy” are active hyperlinks that a Plex user, including Plaintiff, could click on to be
                                                                                15
                                                                                     directed to another screen containing the entire text of the respective document. Id., at ¶ 17. When
                                                                                16
                                                                                     Plaintiff allegedly created a Plex account, he encountered the TOS and Privacy Policy on the Plex
                                                                                17
                                                                                     Userflow and Facebook Userflow, as illustrated above. Id., at ¶¶ 25-26. Plaintiff had the opportunity
                                                                                18
                                                                                     to review the TOS and Privacy Policy before creating a Plex account and selecting the "Continue
                                                                                19
                                                                                     with Facebook" button on the Plex Userflow and the "Continue" button on the Facebook Userflow.
                                                                                20
                                                                                     Id., at ¶ 27. Plaintiff alleges he "created a Plex account using the 'Continue to Facebook button'" and
                                                                                21
                                                                                     therefore acknowledged, agreed, and accepted the TOS and Privacy Policy, as illustrated in the
                                                                                22
                                                                                     above screenshots. Id., at ¶ 28. At the time Plaintiff initially entered into the Sign-in Wrap
                                                                                23
                                                                                     Agreement in April 2020, Plex's TOS included (i) a mandatory arbitration agreement and (ii) class
                                                                                24
                                                                                     action waiver. Id., at ¶ 29. Furthermore, beginning April 11, 2024, Plex's Amended TOS (defined
                                                                                25
                                                                                     below) included a forum selection clause, which, subject to its dispute resolution provision within
                                                                                26
                                                                                     same, requires all claims arising from the Plex Solution to be brought in the courts presiding in the
                                                                                27
                                                                                     state of Delaware. Id., at ¶ 33. At all times since Plaintiff initially entered into the Sign-in Wrap
                                                                                28

                                                                                     34254817.1:12373-0010                             -3-
                                                                                     DEFENDANT PLEX INC.'S AND GMBH'S NOTICE OF MOTION TO DISMISS FIRST AMENEDED COMPLAINT
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                                                                                 1 Agreement in or around April 2020, Plaintiff accepted Plex's Privacy Policy and provided informed,

                                                                                 2 written consent for Plex to collect, process, store, share, and/or sell his personal information with

                                                                                 3 third-parties ("Consent"). Id., at ¶¶ 7, 34-41. Furthermore, at no time relevant hereto did Plaintiff

                                                                                 4 withdraw Consent. Id., at ¶¶ 37-38.

                                                                                 5 III.       THE PARTIES ENTERED INTO A SIGN-IN WRAP AGREEMENT

                                                                                 6            A.        This Court has held that the Sign-In Wrap Agreement is enforceable
                                                                                 7
                                                                                              Under California state contract law, sign-in wrap agreements (also referred to as "modified
                                                                                 8
                                                                                     clickwrap agreements") “notify the user of the existence of the website's terms of use and, instead
                                                                                 9
                                                                                     of providing an ‘I agree’ button, advise the user that he or she is agreeing to the terms of service
                                                                                10
                                                                                     when registering or signing up.” Quamina v. JustAnswer LLC, No. 22-CV-06051-JD, 2024 WL
                                                                                11
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                                                                                12 950157 at *4 (N.D. Cal. Mar. 5, 2024). This Court has previously held that:
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                                                                                13            Because the user is purportedly bound by Plex's TOS by clicking to "Create an
                                                                                              Account" or "Continue with Google", and cannot create an account without
                                                                                14            affirmatively acknowledging the agreement…Plex's agreement is…categorized as a
                                                                                15            sign-in wrap agreement

                                                                                16 See Rebecka Miller v. Plex, Inc., Case No. 5:22-cv-5015-SVK, ECF No. 32, pg. 14 (March 30,

                                                                                17 2023), Ex. E. As explained, infra, this Court previously held that the Sign-In Wrap Agreement

                                                                                18 offered by Plex is a fully enforceable and binding contract. In doing so, this Court applied the two-

                                                                                19
                                                                                     factor test created by the Ninth Circuit in Berman v. Freedom Fin. Network, LLC.1
                                                                                20

                                                                                21
                                                                                     1
                                                                                         Pursuant to the Berman Test, "unless the website operator can show that a consumer had actual
                                                                                22
                                                                                     knowledge of the agreement an enforceable contract will be found based on an inquiry notice theory
                                                                                23

                                                                                24 if (1) the website provides reasonably conspicuous notice of the terms to which the consumer will

                                                                                25 be bound; and (2) the consumer take some action, such as clicking a button or checking a box, that

                                                                                26 unambiguously manifests his or her assent to those terms." See Berman v. Freedom Fin. Network,

                                                                                27
                                                                                     LLC, 30 F. 4th 849, 856 (9th Cir. 2022).
                                                                                28

                                                                                     34254817.1:12373-0010                            -4-
                                                                                         DEFENDANT PLEX, INC.'S AND GMBH'S NOTICE OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                                                                                 1                      1.   Plaintiff received reasonably conspicuous notice

                                                                                 2            As to the first Berman factor, to be conspicuous a notice “must be displayed in a font size
                                                                                 3
                                                                                     and format such that the court can fairly assume that a reasonably prudent Internet user would have
                                                                                 4
                                                                                     seen it.” Id. "This may be done by using a contrasting font color…or through the use of all capital
                                                                                 5
                                                                                     letters, both of which may 'alert a user that the particular text differs from other plain text in that it
                                                                                 6
                                                                                     provides a clickable pathway to another webpage.'" Rocha v. Urb. Outfitters, Inc., No. 23-CV-
                                                                                 7

                                                                                 8 00542-AMO, 2024 WL 393486, at *4 (N.D. Cal. Feb. 1, 2024) (quoting Berman, 30 F.4th 849,856).

                                                                                 9 This Court, in Miller, held the Sign-In Wrap Agreement offered by Plex satisfies the first Berman

                                                                                10 factor because:

                                                                                11
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                                                                                              Plex’s Sign Up Page… is uncluttered and does not include distracting graphics…The
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                                                                                12            critical notice language is wholly visible and appears in close proximity to the
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                                                                                              yellow-colored “Create an Account” button in dark gray font of the same size as the
                                                                                13            rest of the webpage’s text other than the statement “Create your free account” that
                                                                                              appears at the top of the webpage in a larger font…Further, the three buttons for
                                                                                14            Google, Facebook and Apple plainly provided options for how a user could sign up
                                                                                15            for Plex’s services because each began with “Continue with” and then provided a
                                                                                              method for doing so… Directly beneath these options is the word “or” and fields for
                                                                                16            a user to enter an email address and password along with an orange “Create an
                                                                                              account” button…Under the yellow-colored “Create an account” button, users are
                                                                                17            clearly informed that “By creating an account or continuing to use a Plex
                                                                                              application, website, or software, you acknowledge and agree that you have accepted
                                                                                18
                                                                                              the Terms of Service and have reviewed the Privacy Policy.”…A user clicking on
                                                                                19            the hyperlink “Terms of Service” is directed to a copy of the TOS…A reasonable
                                                                                              person would know that, by signing up, she would be agreeing to Plex's terms
                                                                                20            even if she used her Google account to sign up…Plex’s Sign Up Page includes
                                                                                              three hyperlinks, to its TOS, privacy policy, and sign-in page, where users who
                                                                                21            already have Plex accounts may log in…The hyperlinks are all bolded and in the
                                                                                              same size font, which sufficiently indicates to users that they are clickable in this
                                                                                22
                                                                                              instance; a user need not “click on every word of the sentence in case one of them is
                                                                                23            actually a link.”…As such, the hyperlink to Plex’s TOS was presented in a manner
                                                                                              that gave Plaintiff adequate notice that the bolded phrase “Terms of Service” was
                                                                                24            a clickable link[.]

                                                                                25 Id., 5:22-cv-5015-SVK, ECF No. 32, pg. 16-20. Here, Plex has not implemented any changes to

                                                                                26
                                                                                     the design of the Plex Userflow since this Court's decision in Miller. See Declaration of Ricardo
                                                                                27
                                                                                     Castro, at ¶ 14; Ex. C. Accordingly, this Court's analysis and ruling in Miller should be binding here.
                                                                                28

                                                                                     34254817.1:12373-0010                              -5-
                                                                                      DEFENDANT PLEX, INC.'S AND GMBH'S NOTICE OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                                                                                 1            Akin to the plaintiff in Miller, Plaintiff here alleges "when a consumer is presented with the

                                                                                 2 sign-up screen, any terms of service or privacy policy Defendants present are not immediately

                                                                                 3
                                                                                     visible and require the consumer to scroll down the page." See FAC, at ¶ 64. Notwithstanding, this
                                                                                 4
                                                                                     Court rejected the same argument in Miller, and held:
                                                                                 5
                                                                                              Plex has presented evidence that the "Create your Account" image on the Sign Up
                                                                                 6            Page is what Plaintiff would have encountered on her Android phone when she
                                                                                              created an account in April 2021 and the Plex's entire Sign Up Page has been
                                                                                 7
                                                                                              completely visible on a Google Android mobile phone since January 2021, subject
                                                                                 8            to a user's personal settings related to text size"

                                                                                 9 See Id., 5:22-cv-5015-SVK, ECF No. 32, pg. 18-19. In both Miller and the current matter, Plex

                                                                                10 submits exactly the same evidence through the Declaration of Ricardo Castro. See Id., at ¶21.

                                                                                11
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                                                                                     Accordingly, Plaintiff's argument is unpersuasive. Furthermore, Plaintiff had an additional
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                                                                                     opportunity to view Plex's TOS and Privacy Policy on the Facebook Userflow, which is immediately
                                                                                13
                                                                                     below the "Continue" button which Plaintiff allegedly clicked on. See Id., at ¶¶22, 26. As such,
                                                                                14

                                                                                15 during the process of registering for a Plex account, Plaintiff received reasonably conspicuous notice

                                                                                16 of the TOS and Privacy on the Plex Userflow and the Facebook Userflow. Id. Also akin to the

                                                                                17 plaintiff in Miller, Plaintiff alleges "the Terms and Privacy Policy are not presented as clear

                                                                                18
                                                                                     hyperlinks." See FAC, ¶ 61. Notwithstanding, this Court also rejected the same argument in Miller,
                                                                                19
                                                                                     and held:
                                                                                20
                                                                                              because the hyperlinks are bolded and as such appear darker than the rest of the
                                                                                21            sentence, they are "sufficiently set apart from the surrounding set apart from the
                                                                                              surrounding text…it is clear that Plaintiff was not required to " hover [her] mouse
                                                                                22
                                                                                              over otherwise plain-looking text or aimlessly click on words on a page in an effort
                                                                                23            to ferret out hyperlinks.

                                                                                24   See Id., 5:22-cv-5015-SVK, ECF No. 32, pg. 19-20. Here, as mentioned above Plex has not

                                                                                25 implemented any changes to the design of the Plex Userflow since this Court's decision in Miller.

                                                                                26
                                                                                     See Declaration of Ricardo Castro. See Id., at ¶21; Ex. C. Accordingly, Plaintiff's argument is
                                                                                27
                                                                                     unpersuasive. Lastly, Plaintiff argues that the April 2020 Terms of Service and Privacy Policy are
                                                                                28

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                                                                                 1 not clickable hyperlinks. Notwithstanding, as explained above, this is simply untrue. Id. ¶¶17,19

                                                                                 2                      2.   Plaintiff exhibited an unambiguous manifestation of assent
                                                                                 3
                                                                                              In concluding that Plex's Sign-In Wrap Agreement satisfied the second Berman factor, this
                                                                                 4
                                                                                     Court in Miller held:
                                                                                 5
                                                                                              Plaintiff was on inquiry notice of the arbitration agreement, and that Plaintiff
                                                                                 6            manifested unambiguous assent to Plex’s TOS when she signed up for Plex’s
                                                                                              services using her Google credentials.
                                                                                 7

                                                                                 8   Id., Case No. 5:22-cv-5015-SVK, ECF No. 32, pg. 21. Here, similar to the plaintiff in Miller,

                                                                                 9 Plaintiff concedes that "in or around April 2020, Plaintiff created a Plex account" and therefore

                                                                                10 manifested unambiguous assent to the terms and conditions of the Sign-In Wrap Agreement,

                                                                                11
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                                                                                     including the TOS and Privacy Policy. See FAC, at ¶ 64; see also Declaration of Ricardo Castro, at
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                                                                                     ¶ 16. Accordingly, as explained above, both of the Berman factors are met. As such, this Court
                                                                                13
                                                                                     should follow its precedent in Miller and hold Plaintiff entered into an enforceable Sign-in Wrap
                                                                                14

                                                                                15 Agreement with Plex and therefore acknowledged, agreed, and accepted the TOS and Privacy

                                                                                16 Policy.

                                                                                17 IV.        THE TOS, RATER THAN THE AMENDED TOS, IS CONTROLLING
                                                                                18
                                                                                              At all times since Plaintiff initially entered into the Sign-In Wrap Agreement in or around
                                                                                19
                                                                                     April 2020, each version of Plex's terms of service, including the TOS, included a change-of-terms
                                                                                20
                                                                                     provision, which provides that Plex "reserves the right to change terms and conditions of the TOS[.]"
                                                                                21
                                                                                     See Declaration of Ricardo Castro, at ¶ 43. Ex. A; E. Under California law, "in order for changes in
                                                                                22
                                                                                     terms to be binding pursuant to a change-of-terms provision in the original contract, both parties to
                                                                                23
                                                                                     the contract—not just the drafting party—must have notice of the change in contract terms." Stover
                                                                                24
                                                                                     v. Experian Holdings, Inc., 978 F.3d 1082, 1086 (9th Cir. 2020). The party enforcing the change-
                                                                                25
                                                                                     of-terms provision has the burden of proving each element of a valid assent, including mutual assent.
                                                                                26
                                                                                     Id. "Notice…is the touchstone for assent to a contract, and the resulting enforceability of changed
                                                                                27
                                                                                     terms in an agreement." Id. In Nguyen v. OKCoin USA Inc., the parties disputed whether the
                                                                                28
                                                                                     September 2021 terms of service or the July 2022 terms of service applied. Id., No. 22-CV-06022-

                                                                                     34254817.1:12373-0010                            -7-
                                                                                     DEFENDANT PLEX, INC.'S AND GMBH'S NOTICE OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                                                                                 1 KAW, 2023 WL 2095926, at *2 (N.D. Cal. Feb. 17, 2023). The September 2021 terms of service

                                                                                 2 provided that defendant may “change or modify the terms and conditions contained in these terms

                                                                                 3 ... at any time and at its sole discretion.” Id. Further, the September 2021 terms of service stated:

                                                                                 4 “your non-termination or continued use of this Site or Service(s) after the effective date of any

                                                                                 5 changes or modifications of these terms will constitute your acceptance of such changes or

                                                                                 6 modifications.” Id. Defendant subsequently modified the terms of service in July 2022, and plaintiffs

                                                                                 7 stated that they used defendant's website thereafter. Id. Plaintiffs argued that the July 2022 terms of

                                                                                 8 service applied to the case, while defendant responded that the September 2021 terms of service still

                                                                                 9 applied because defendant did not notify existing users by e-mail or other means about the July 2022

                                                                                10 terms of service. Id. Applying the Stover Test, the court in Nguyen agreed with the defendant and

                                                                                11 held that the September 2021 terms of service applied because defendant did not notify its existing
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                                                                                12 users of the July 2022 terms of service. Id. See also Jackson v. Amazon.com, Inc., 559 F. Supp. 3d
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                                                                                13 1132, 1141 (S.D. Cal. 2021), aff'd, 65 F.4th 1093 (9th Cir. 2023); Bennett v. Isagenix Int'l, LLC, No.

                                                                                14 CV-23-01061-PHX-DGC, 2023 WL 4562605, at *3 (D. Ariz. July 17, 2023). Here, Plex did not

                                                                                15 notify its existing users, including Plaintiff, of the April 11, 2024 update to its TOS (the "Amended

                                                                                16 TOS") by e-mail or other means. See Declaration of Ricardo Castro, at ¶ 42. Accordingly, consistent

                                                                                17 with Stover and Nguyen, the TOS is the controlling version in effect when Plaintiff initially entered

                                                                                18 into the Sign-In Wrap Agreement in or around April 2020, which includes (i) a mandatory

                                                                                19 arbitration agreement and (ii) class action waiver. Additionally, the Amended TOS is not controlling

                                                                                20 because Plaintiff defines both the Nationwide Class and California Subclass as those users who used

                                                                                21 the Plex Solution "up and until March 2, 2024", which is prior to the April 11, 2024 update. See

                                                                                22 FAC, at ¶¶69-70. Accordingly, this Motion should be evaluated in accordance with the TOS.

                                                                                23 V.         THE COURT SHOULD DISMISS THIS ACTION AS TO PLEX GMBH PURSUANT
                                                                                              TO RULE 12(B)(2) BECAUSE THERE IS NO MINIMUM CONTACTS
                                                                                24
                                                                                              Pursuant to Fed.R.Civ.P. 12(b)(2), a defendant may move to dismiss for lack of personal
                                                                                25
                                                                                     jurisdiction and "the plaintiff then bears the burden of demonstrating that the Court has jurisdiction."
                                                                                26
                                                                                     Gofron v. Picsel Techs., Inc., 804 F. Supp. 2d 1030, 1035 (N.D. Cal. 2011) (citing Schwarzenegger
                                                                                27
                                                                                     v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir.2004)). While uncontroverted allegations in
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                                                                                 1 the complaint must be taken as trust, "the court may not assume the truth of such allegations if they

                                                                                 2 are contradicted by affidavit." Id. (citing Data Disc, Inc. v. Systems Tech. Assocs., Inc., 557 F.2d

                                                                                 3 1280, 1284 (9th Cir.1977)). "If defendant submits evidence controverting the allegations, plaintiff

                                                                                 4 may not rely on its pleadings, but must 'come forward with facts, by affidavit or otherwise,

                                                                                 5 supporting personal jurisdiction.'” Baker v. Wehinger, No. CV 18-05800 SJO (EX), 2018 WL

                                                                                 6 6443086, at *3 (C.D. Cal. Oct. 9, 2018) (quoting SMS Signature Cars v. Connects Mktg. LLC, 2012

                                                                                 7 WL 12893936, at *1 (C.D. Cal. Nov. 5, 2012) (citing Scott v. Breeland, 792 F. 2d 925, 927 (9th Cir.

                                                                                 8   1986))."There are two independent limitations on a court's power to exercise personal jurisdiction

                                                                                 9 over a non-resident defendant: the applicable state personal jurisdiction rule and constitutional

                                                                                10 principles of due process." Id. (citing Sher v. Johnson, 911 F.2d 1357, 1361 (9th Cir.1990); Data

                                                                                11 Disc, Inc., 557 F.2d 1280, 1286)). "California's jurisdictional statute is co-extensive with federal
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                                                                                12 due process requirements; therefore, jurisdictional inquiries under state law and federal due process
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                                                                                13 standards merge into one analysis." Id. (citing Rano v. Sipa Press, Inc., 987 F.2d 580, 587 (9th

                                                                                14 Cir.1993)). "Under that analysis, the exercise of jurisdiction over a non-resident defendant will

                                                                                15 violate due process unless the defendant has established such 'minimum contacts' with the forum

                                                                                16 state that the exercise of jurisdiction 'does not offend traditional notions of fair play and substantial

                                                                                17 justice.'" Nat. Wellness Centers of Am., Inc. v. Golden Health Prod., Inc., No. C 12-05586 CW,

                                                                                18 2013 WL 245594, at *2 (N.D. Cal. Jan. 22, 2013) (quoting Int'l Shoe Co. v. Washington, 326 U.S.

                                                                                19 310, 316 (1945)). "The court's exercise of personal jurisdiction may be either general or specific."

                                                                                20 Id. Here, Plaintiff concedes that "Plex GmbH is a Swiss corporation with its principal place of

                                                                                21 business at Wilhelmine-Gemberg-Weg 6 10179 Berlin, Germany." See FAC, at ¶ 8; see also

                                                                                22 Declaration of Angelo Spenillo, at ¶ 7. Accordingly, the "alter-ego theory…has been utilized by

                                                                                23 courts…to determine whether a court may exercise personal jurisdiction over a foreign…

                                                                                24 corporation." In re Enter. Rent-A-Car Wage & Hour Emp. Pracs. Litig., 735 F. Supp. 2d 277, 317

                                                                                25 (W.D. Pa. 2010), aff'd, 683 F.3d 462 (3d Cir. 2012); see also Ranza v. Nike, Inc., 793 F.3d 1059,

                                                                                26 1073 (9th Cir. 2015) ("We hold the alter ego test may be used to extend personal jurisdiction to a

                                                                                27 foreign parent or subsidiary when, in actuality, the foreign entity is not really separate from its

                                                                                28 domestic affiliate."). In the Ninth Circuit, the alter-ego test is met when “(1) that there is such a

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                                                                                 1 unity of interest and ownership that the separate personalities of the two entities no longer exist and

                                                                                 2 (2) that failure to disregard their separate identities would result in injustice. The first prong of this

                                                                                 3 test has 'alternately been stated as requiring a showing that the parent controls the subsidiary to such

                                                                                 4 a degree as to render the latter the mere instrumentality of the former.'” United States v. Pangang

                                                                                 5 Grp. Co., 879 F. Supp. 2d 1052, 1066 (N.D. Cal. 2012) (citations omitted).

                                                                                 6            A.        Plex Inc. and Plex GmbH have separate personalities

                                                                                 7 Courts consider the below factors in analyzing the unity of interest prong of the alter ego test:

                                                                                 8
                                                                                              (1) inadequate capitalization, (2) commingling of funds and other assets, (3)
                                                                                 9            disregard of corporate formalities and failure to maintain an arm's length
                                                                                              relationship, (4) holding out by one entity that is liable to the debts of the other, (5)
                                                                                10            identical equitable ownership, (6) use of the same offices and employees, (7) lack of
                                                                                              segregation of corporate records, (8) manipulating assets between entities so as to
                                                                                11            concentrate the assets in one and the liabilities in another, and (9) identical directors
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                                                                                              and officers.
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                                                                                13 Sun Grp. U.S.A. Harmony City, Inc. v. CRRC Corp. Ltd., No. 17-CV-02191-SK, 2024 WL 2193311,

                                                                                14 at *12 (N.D. Cal. May 14, 2024) (quoting City & Cnty. of San Francisco v. Purdue Pharma L.P.,

                                                                                15 491 F. Supp. 3d 610, 635 (N.D. Cal. 2020)). Here, Plaintiff alleges, in a conclusory fashion that

                                                                                16 personal jurisdiction exists as to Plex GmbH because "Plex GmbH oversees and controls the

                                                                                17 operations of Plex, Inc., and relies on its subsidiary, Plex, Inc., for access into, and delivery of video

                                                                                18 content and the sales of subscription into the United States on the Plex streaming service. As such,

                                                                                19 both Defendants acted jointly and in concert to commit the violation alleged[.]" See FAC, at ¶ 8.

                                                                                20 First, Plaintiff's argument is unpersuasive because “mere ‘bare bones’ assertions of minimum

                                                                                21 contacts with the forum or legal conclusions unsupported by specific factual allegations will

                                                                                22 not satisfy a plaintiff's pleading burden.” Swartz v. KPMG LLP, 476 F.3d 756, 766 (9th Cir.

                                                                                23 2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 681 (2009) (conclusory allegations or “formulaic

                                                                                24 recitation of the elements” of a claim are not entitled to the presumption of truth); In re Gilead Scis.

                                                                                25 Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) ("Nor is the court required to accept as true

                                                                                26 allegations that are ... unwarranted deductions of fact, or unreasonable inferences.”). Second,

                                                                                27 Plaintiff's conclusory allegations are false as Plex, Inc. is the sole owner of the Plex Solution. See

                                                                                28 Declaration of Angelo Spenillo, at ¶ 21. Third, Plaintiff's conclusory allegations are false because

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                                                                                 1 Plex Inc. is not a subsidiary of Plex GmbH. See Declaration of Angelo Spenillo, at ¶ 8. Fourth, even

                                                                                 2 assuming, arguendo, Plaintiff's conclusory allegations are true (which they are not), courts have

                                                                                 3 continuously dismissed this argument. See Nike, Inc., 793 F.3d 1059, 1073 ("total ownership and

                                                                                 4 shared management personnel are alone insufficient to establish the requisite level of control.")

                                                                                 5 (citing Harris Rutsky & Co. Ins. Servs. v. Bell & Clements Ltd., 328 F.3d 1122, 1135 (9th Cir.2003));

                                                                                 6 Katzir's Floor & Home Design, Inc. v. M-MLS.com, 394 F.3d 1143, 1149 (9th Cir. 2004) (“The

                                                                                 7 mere fact of sole ownership and control does not eviscerate the separate corporate identity that is

                                                                                 8 the foundation of corporate law.”); Sun Grp., 2024 WL 2193311, at *12 ("a parent corporation may

                                                                                 9 be directly involved in the activities of its 'subsidiaries without incurring liability so long as that

                                                                                10 involvement is ‘consistent with the parent's investor status.’”) (quoting Doe v. Unocal Corp., 248

                                                                                11 F.3d 915, 926 (9th Cir. 2001)); In re California Gasoline Spot Mkt. Antitrust Litig., No. 20-CV-
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                                                                                12 03131-JSC, 2021 WL 4461199, at *2 (N.D. Cal. Sept. 29, 2021) ("[A] parent corporation may be
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                                                                                13 directly involved in financing and macro-management of its subsidiaries ... without exposing itself

                                                                                14 to a charge that each subsidiary is merely its alter ego.”) (quoting Nike, Inc., 793 F.3d 1059, 1074));

                                                                                15 Dole Food Co. v. Patrickson, 538 U.S. 468, 475 (2003) ("The doctrine of piercing the corporate

                                                                                16 veil, however, is the rare exception, applied in the case of fraud or certain other exceptional

                                                                                17 circumstances"). Even in the context of shared websites between affiliated domestic and foreign

                                                                                18 entities, this is not enough to satisfy the alter-ego test. See Reynolds v. Binance Holdings Ltd., 481

                                                                                19 F. Supp. 3d 997, 1006 (N.D. Cal. 2020) ("'When confronted with entities’ shared websites in the

                                                                                20 alter ego context, courts have held this does not reflect an 'abuse of the corporate form and existence

                                                                                21 of an alter ego relationship.'”) (quoting Gerritsen v. Warner Bros. Entm't Inc., 116 F. Supp. 3d 1104,

                                                                                22 1139 (C.D. Cal. 2015)); NetApp, Inc. v. Nimble Storage, Inc, 2015 WL 400251, at *7 (N.D. Cal.

                                                                                23 Jan. 29, 2015) (“In addition, the allegation that [entities] share a website and email is an

                                                                                24 administrative ... function. Shared administrative functions are not necessarily indicative of an alter

                                                                                25 ego relationship.”);Yih v. Taiwan Semiconductor Mfg. Co., Ltd., No. 5:20-CV-04184-EJD, 2020

                                                                                26 WL 6290377, at *7 (N.D. Cal. Oct. 27, 2020), aff'd sub nom. Yih v. Taiwan Semiconductor Mfg.

                                                                                27 Co., Ltd, No. 20-17237, 2021 WL 3783096 (9th Cir. Aug. 26, 2021) ("Moreover, separate corporate

                                                                                28 entities presenting themselves 'as one online does not rise to the level of unity of interest required

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                                                                                 1 to show companies are alter egos.'”) (quoting Corcoran v. CVS Health Corp., 169 F. Supp. 3d 970,

                                                                                 2 984 (N.D. Cal. 2016)). Fifth, Plaintiff does not allege any of the remaining eight Sun Grp. factors

                                                                                 3 exist, nor can he. See Declaration of Angelo Spenillo, at ¶¶ 9-21. Accordingly Plaintiff fails to

                                                                                 4 satisfy the first factor of the alter-ego test.

                                                                                 5            B.        Disregarding the separate identities would not result in injustice or fraud

                                                                                 6
                                                                                              In order to satisfy the second prong of the alter-ego test, plaintiff must show that the foreign
                                                                                 7
                                                                                     entity was structured "in such a way that it was designed as to avoid subjecting it to liability within
                                                                                 8
                                                                                     the United States." Pangang Grp. Co., 879 F. Supp. 2d 1052, 1068 ; see also Oracle Am., Inc. v.
                                                                                 9
                                                                                     Appleby, No. 16-CV-02090-JST, 2016 WL 5339799, at *7 (N.D. Cal. Sept. 22, 2016) ("California
                                                                                10
                                                                                     courts generally require some evidence of bad faith conduct on the part of defendants before
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                                                                                     concluding that an inequitable result justifies an alter ego finding"). Furthermore, "California courts
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                                                                                     have rejected the view that the potential difficulty a plaintiff faces collecting a judgment is an
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                                                                                13
                                                                                     inequitable circumstances that warrants application of the alter ego doctrine." Smith v. Simmons,
                                                                                14
                                                                                     638 F. Supp. 2d 1180, 1192 (E.D. Cal. 2009), aff'd, 409 F. App'x 88 (9th Cir. 2010) (citing
                                                                                15
                                                                                     VirtualMagic Asia, Inc., 99 Cal.App.4th 228, 245, 121 Cal.Rptr.2d 1 (2002) (“Alter ego will not be
                                                                                16
                                                                                     applied absent evidence that an injustice would result from the recognition of separate corporate
                                                                                17
                                                                                     identities, and ‘difficulty in enforcing a judgment or collecting a debt does not satisfy this
                                                                                18
                                                                                     standard’”); Sonora Diamond Mid–Century Ins. Co. v. Gardner, 9 Cal.App.4th 1205, 1213, 11
                                                                                19
                                                                                     Cal.Rptr.2d 918 (1992) (same). Here, Plex GmbH was strategically incorporated in Switzerland for
                                                                                20
                                                                                     business purposes. See Declaration of Angelo Spenillo, at ¶ 20. Plaintiff also entirely fails to allege
                                                                                21
                                                                                     evidence of bad faith or fraud by Plex GmbH. While Plaintiff alleges throughout the FAC that Plex
                                                                                22
                                                                                     violated the VPPA and California Civil Code § 1799.3, this does not satisfy the heightened pleading
                                                                                23
                                                                                     requirement. See United States v. Rosenthal, No. CR 02-00053 CRB, 2007 WL 2013524, at *2 (N.D.
                                                                                24
                                                                                     Cal. July 6, 2007) ("‘[B]ad faith’ is not simply bad judgment or negligence, but rather it implies the
                                                                                25
                                                                                     conscious doing of a wrong because of dishonest purpose or moral obliquity; ... it contemplates a
                                                                                26
                                                                                     state of mind affirmatively operating with furtive design or ill will.") (quoting United States v.
                                                                                27
                                                                                     Manchester Farming Partnership, 315 F.3d 1176, 1182 (9th Cir.2003)); Pickman v. Am. Exp. Co.,
                                                                                28
                                                                                     No. C 11-05326 WHA, 2012 WL 1357636, at *3 (N.D. Cal. Apr. 17, 2012) (same). Accordingly,

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                                                                                 1 Plaintiff fails the alter-ego test and fails to establish personal jurisdiction over Plex GmbH.

                                                                                 2 VI.        THIS COURT SHOULD DISMISS THIS ACTION PURSUANT TO RULE 12(B)(6)
                                                                                              BECAUSE PLAINTIFF CONSENTED TO THE ALLEGED CONDUCT
                                                                                 3
                                                                                              As an initial matter, as explained, supra, Plaintiff gave Plex Consent for the conduct alleged
                                                                                 4
                                                                                     in the FAC which is fatal as a matter of law to his claim for violations of the VPPA and California
                                                                                 5
                                                                                     Civil Code § 1799.3. See Declaration of Ricardo Castro, generally. Pursuant to 18 U.S.C. §
                                                                                 6
                                                                                     2710(b)(2)(B)2, a video tape service provider may disclose personally identifiable information
                                                                                 7
                                                                                     concerning any consumer to any person with the informed, written consent (including through an
                                                                                 8
                                                                                     electronic means using the internet) of the consumer that (i) is in a form distinct and separate from
                                                                                 9
                                                                                     any form setting forth other legal or financial obligations of the consumer; (ii) at the election of the
                                                                                10
                                                                                     consumer is given at the time the disclosure is sought or is given in advance for a set period of time,
                                                                                11
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                                                                                     not to exceed two years or until consent is withdrawn by the consumer, whichever is sooner; and
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                                                                                     (iii) the video tape service provider has provided an opportunity, in a clear and conspicuous manner,
                                                                                13
                                                                                     for the consumer to withdraw on a case-by-case basis or to withdraw from ongoing disclosures, at
                                                                                14
                                                                                     the consumer’s election. Id. Similarly, California Civil Code § 1799.3 provides that “no person
                                                                                15
                                                                                     providing video recording sales or rental services shall disclose any personal information or the
                                                                                16
                                                                                     contents of any record, including sales or rental information which is prepared or maintained by that
                                                                                17
                                                                                     person, to any person, other than the individual who is the subject of the record, without the written
                                                                                18
                                                                                     consent of that individual." Id. As discussed, infra, the Sign-In Wrap Agreement satisfies the
                                                                                19
                                                                                     requirements under the VPPA and California Civil Code § 1799.3 for permissible disclosure.
                                                                                20
                                                                                              A.        The Sign-In Wrap Agreement satisfies the VPPA requirements for disclosure
                                                                                21
                                                                                     2
                                                                                22       The statute was amended in 2011 to “clarify that a video tape service provider may be obtained

                                                                                23 through the Internet.” H.R. Rep. 112-312 (2011). At the time the amendment passed, Congress was

                                                                                24 aware that internet companies like Facebook “track, retain, market and mine information on their

                                                                                25 customers,” and the legislative history makes clear that the amendment was intended “to provide a

                                                                                26 seamless process to share video viewing habits on social media (like Facebook) in the same manner

                                                                                27 currently in use for music, books and news articles.” Id; see also Bernardino v. Barnes & Noble

                                                                                28 Booksellers, Inc., No. 17CV04570LAKKHP, 2017 WL 3727230, at *8 (S.D.N.Y. Aug. 11, 2017).

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                                                                                 1
                                                                                                        1.   The first prong is satisfied because Plaintiff entered into the Sign-In Wrap
                                                                                 2                           Agreement and Consented to the Privacy Policy
                                                                                 3
                                                                                              The first requirement for permissible disclosure under VPPA is satisfied because Plaintiff
                                                                                 4
                                                                                     Consented to Plex's Privacy Policy, which as shown in Exhibit B, is in a form that is separate and
                                                                                 5
                                                                                     unique from the TOS and all other forms setting forth other legal or financial obligations of the
                                                                                 6
                                                                                     Plaintiff. See Declaration of Ricardo Castro, generally; Ex. B. The Privacy Policy sets forth Plex's
                                                                                 7
                                                                                     personal information processing policy which explains how Plex collects, uses, and shares personal
                                                                                 8
                                                                                     data about a Plex user, and also when and how a Plex user can control what Plex do with it. Id., at
                                                                                 9
                                                                                     ¶¶ 7, 35; Ex. B. The Privacy Policy applies to the data collected through products and services
                                                                                10
                                                                                     provided by Plex, including the Plex Solution. Id. At all times since Plaintiff initially entered into
                                                                                11
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                                                                                     the Sign-In Wrap Agreement in or around April 2020, the Privacy Policy describes the information
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                                                                                12
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                                                                                     Plex collects, which includes videos viewed, as illustrated, in part, below:
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                                                                                20 Id.; Ex. B. At all times since Plaintiff initially entered into the Sign-In Wrap Agreement in or around

                                                                                21 April 2020, the Privacy Policy describes who Plex shares a user's personal information with, as

                                                                                22 illustrated, in part, below:

                                                                                23 / / /

                                                                                24 / / /

                                                                                25 / / /

                                                                                26 / / /

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                                                                                12 Id; Ex B. Furthermore, as illustrated in the Facebook Userflow within Exhibit D, separate and unique
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                                                                                13 from any other legal or financial obligations, Plex again disclosed that "by continuing, Plex will

                                                                                14
                                                                                     receive ongoing access to the information you share and Facebook will record when Plex access
                                                                                15
                                                                                     it" See Declaration of Ricardo Castro, at ¶ 11, Ex. D. Accordingly, by creating a Plex account via
                                                                                16
                                                                                     the "Continue with Facebook" button, Plaintiff consented to Facebook/Meta receiving Plaintiff's
                                                                                17
                                                                                     personal information. Here, Plaintiff alleges in the FAC that Plex:
                                                                                18

                                                                                19            knowingly disclosing personal information…and personally identifiable
                                                                                              information…including the names of specific videos and video services Plaintiff and
                                                                                20            Class Members requested and obtained…to Meta without their consent. Specifically,
                                                                                              Plex installed computer code on its website called the “Meta Tracking Pixel,” which
                                                                                21            tracks and records Plaintiff and Class Members’ private video consumption. Behind
                                                                                              the scenes of many key plex.tv webpages—and unbeknownst to video viewers—this
                                                                                22
                                                                                              code collects Plaintiff and Class Members’ video-consumption history and discloses
                                                                                23            it to Meta without their consent.

                                                                                24 See FAC, at ¶ 5. Notwithstanding, as the above screenshots clearly and unambiguously shows, Plex's

                                                                                25 Privacy Policy and the Facebook Userflow explicitly puts Plaintiff on notice that Plex could collect,

                                                                                26 use, and/or transmit Plaintiff's personal information to Facebook/Meta and by proceeding to sign up

                                                                                27 with Plex and agreeing to its TOS and Privacy Policy, Plaintiff provided Consent for the alleged

                                                                                28 actions that gave rise to this action. See Declaration of Ricardo Castro, generally, Ex. B, D.

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                                                                                 1                      2.   The second prong is satisfied because Plaintiff never withdrew Consent

                                                                                 2            The second prong is satisfied because as discussed, supra, by entering into the Sign-In Wrap

                                                                                 3 Agreement, Plaintiff provided Consent for Plex to collect, use, and/or transmit Plaintiff's personal

                                                                                 4 information to Facebook/Meta. Id.            In California withdrawal of consent requires an

                                                                                 5 "unequivocal act or statement of withdrawal[.]" United States v. Kubbo, 17 F. App'x 543, 545

                                                                                 6 (9th Cir. 2001); see also United States v. Aguirre, No. 1:21-MJ-00094-SAB-1, 2023 WL 5155157,

                                                                                 7 at *17 (E.D. Cal. Aug. 10, 2023) (same). Here, Plaintiff never notified Plex that he withdrew

                                                                                 8 consent, requested to withdraw consent, or opted-out of the Privacy Policy. See Declaration of

                                                                                 9 Ricardo Castro, Id. at ¶¶ 36-39. Rather, the first sentence of the TOS clearly and conspicuously

                                                                                10 provides that "by using or otherwise accessing the Plex website, mobile, or web applications(s), or

                                                                                11 any related Plex service(s)…you accept and agree to the following Terms of Service", which
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                                                                                12 incorporates by reference Plex's Privacy Policy. Id., Ex A. The Facebook Userflow also clearly and
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                                                                                13 conspicuously provides that that "by continuing, Plex will receive ongoing access to the

                                                                                14 information you share and Facebook will record when Plex access it" See Id., at ¶ 11, Ex. D.

                                                                                15 Accordingly, each time Plaintiff signed into his Plex account and used the Plex Solution he

                                                                                16 reaffirmed his Consent regarding Plex's alleged practice of collecting, using and sharing his personal

                                                                                17 information with Facebook.

                                                                                18                      3.   The third prong is satisfied because the Privacy Policy provided Plaintiff
                                                                                                             instructions in a clear and conspicuous manner on how to withdraw Consent.
                                                                                19
                                                                                              Finally, the third prong for consent under the VPPA is satisfied because at all times since
                                                                                20
                                                                                     Plaintiff initially entered into the Sign-In Wrap Agreement in or around April 2020, the Privacy
                                                                                21
                                                                                     Policy provides Plaintiff, in a clear and conspicuous manner, the ability to opt-out of personal
                                                                                22
                                                                                     information being provided to third-parties, as illustrated, in part, below:
                                                                                23

                                                                                24

                                                                                25

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                                                                                 1 Id.; Ex. B.

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                                                                                     Id.; Ex. B. As explained, supra, clear and conspicuous notice "may be done by using a contrasting
                                                                                22
                                                                                     font color…or through the use of all capital letters, both of which may 'alert a user that the particular
                                                                                23
                                                                                     text differs from other plain text in that it provides a clickable pathway to another webpage.'" Rocha,
                                                                                24
                                                                                     2024 WL 393486, at *4 (quoting Berman, 30 F.4th 849, 856). Here, Plaintiff, in a conclusory
                                                                                25
                                                                                     manner, alleges that "at no point did Defendants give consumers the opportunity to withdraw from
                                                                                26
                                                                                     ongoing disclosures of their PII in a clear and conspicuous manner[.]" See FAC, at ¶ 62.
                                                                                27
                                                                                     Notwithstanding, as illustrated by the screenshot above, there can be no doubt Plex provided
                                                                                28

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                                                                                 1 Plaintiff notice and instructions on how to withdraw from ongoing disclosures, Furthermore, the

                                                                                 2 opt-out notice and instructions is clear and conspicuous as it is in large font, bolded, and hyperlinked

                                                                                 3 in orange. Accordingly, Plex received statutory consent under the VPPA.

                                                                                 4            B.        The Sign-In Wrap Agreement satisfies the California Civil Code § 1799.3
                                                                                                        permissible disclosure requirements
                                                                                 5
                                                                                              The requirement for permissible disclosure under California Civil Code § 1799.3 is satisfied
                                                                                 6
                                                                                     because, as explained, supra, Plex received Plaintiff's written Consent. Plaintiff, in a conclusory
                                                                                 7
                                                                                     manner, alleges that "Plex failed to meet the consent requirements…because it did not
                                                                                 8
                                                                                     obtain…written consent[.]" See FAC, at ¶ 53. Plaintiff's arguments is unpersuasive however because
                                                                                 9
                                                                                     as explained and illustrated by the screenshots above, Plex's Privacy Policy and the Facebook
                                                                                10
                                                                                     Userflow explicitly put Plaintiff on notice that it could collect, use, and/or transmit Plaintiff's
                                                                                11
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                                                                                     personal information to Facebook/Meta and by proceeding to sign up with Plex and agreeing to its
                                                                                12
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                                                                                     TOS and Privacy Policy, Plaintiff provided Consent for the alleged actions that gave rise to this
                                                                                13
                                                                                     action. See Declaration of Ricardo Castro, generally. Furthermore, the language of § 1799.3 is
                                                                                14
                                                                                     "notably narrower in certain respects" to the VPPA in that it does not contain the additional three
                                                                                15
                                                                                     factors as set forth in 18 U.S.C. § 2710(b)(2)(B). See Martin v. Meredith Corp., 657 F. Supp. 3d
                                                                                16
                                                                                     277, 285 (S.D.N.Y. 2023) (analyzing California Civil Code § 1799.3). However, to the same extent
                                                                                17
                                                                                     "the language of § 1799.3 is similar to that of the VPPA" in that the VPPA expressly provides
                                                                                18
                                                                                     written consent can be given "through an electronic means using the internet." See 18 U.S.C. §
                                                                                19
                                                                                     2710(b)(2)(B)(i); see also Martin, 657 F. Supp. 3d 277, 285. Accordingly, Plaintiff cannot in good
                                                                                20
                                                                                     faith argue that written consent cannot be provided through electronic means, especially in today's
                                                                                21
                                                                                     modern times. Accordingly, Plex received statutory consent under California Civil Code § 1799.3.
                                                                                22
                                                                                     VII.     THE COURT SHOULD STRIKE CLASS ALLEGATIONS PURSUANT TO RULE
                                                                                23
                                                                                              12(f) BECAUSE THE PROPOSED CLASS DEFINITIONS ARE TOO BROAD
                                                                                24
                                                                                     Pursuant to Fed. R. Civ. P. 12(f) a court “may strike from any pleading ... any redundant, immaterial,
                                                                                25
                                                                                     impertinent, or scandalous mater.” Pursuant to Fed. R. Civ. P. 23(d)(1)(D), a court may require "that
                                                                                26
                                                                                     the pleadings be amended to eliminate allegations about representation of absent persons.” Pursuant
                                                                                27
                                                                                     to Fed. R. Civ. P. 23(c)(1), "as soon as practicable after the commencement of an action brought as
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                                                                                 1 a class action, the court shall determine by order whether it is to be so maintained." "District courts

                                                                                 2 have the authority to strike class allegations at the pleading stage where the class as defined in the

                                                                                 3 complaint cannot be certified." Larry Pearl v. Coinbase Global, Inc., No. 22-CV-03561-MMC,

                                                                                 4 2024 WL 3416505, at *2 (N.D. Cal. July 15, 2024) (citing Kamm v. California City Dev. Co., 509

                                                                                 5 F.2d 205, 207 n.3, 212–14 (9th Cir. 1975)). "Several district courts in this district have found that it

                                                                                 6 was appropriate to strike an overly broad proposed class at the motion to dismiss stage." Baton v.

                                                                                 7 Ledger SAS, No. 21-CV-02470-EMC, 2024 WL 3447511, at *15 (N.D. Cal. July 16, 2024) (listing

                                                                                 8 cases); see also Quinalty v. FocusIT LLC, No. CV-23-00207-PHX-JJT, 2024 WL 342454, at *3 (D.

                                                                                 9 Ariz. Jan. 30, 2024); In re Cupertino Electric Inc. Litigation, Case 5:23-cv-04007-BLF, ECF No.

                                                                                10 69 (N.D. Cal. Aug. 14, 2024). Here, as an initial matter, Plaintiff is unable to certify a class because

                                                                                11 Plaintiff's proposed class definitions are too broad and Plaintiff does not have standing to bring
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                                                                                12 claims on behalf of the proposed class members. As the Supreme Court has held, "every class
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                                                                                13 member must have Article III standing in order to recover individual damages… 'Article III does

                                                                                14 not give federal courts the power to order relief to any uninjured plaintiff, class action or not.'”

                                                                                15 TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2016) (quoting Tyson Foods, Inc. v. Bouaphakeo,

                                                                                16 577 U.S. 442, 466 (2016)). Furthermore, "standing is not dispensed in gross; rather, plaintiffs must

                                                                                17 demonstrate standing for each claim that they press and for each form of relief that they seek[.]" Id.

                                                                                18 “That a suit may be a class action ... adds nothing to the question of standing[.]” Spokeo v. Robins,

                                                                                19 578 U.S. 330, 338, n. 6 (2016) (citations omitted). "Plaintiffs in a putative class action who lack

                                                                                20 standing to bring certain claims cannot litigate those claims on behalf of those not present."

                                                                                21 McKinnon v. Dollar Thrifty Auto. Grp., Inc., No. 12-4457 SC, 2013 WL 791457, at *6 (N.D. Cal.

                                                                                22 Mar. 4, 2013). Here, Plaintiff's class definitions are too broad because it encompasses class

                                                                                23 members that "created a Plex account, or signed up in to Plex, with a Google, Facebook, or Apple

                                                                                24 Account[.]. See FAC, at ¶¶ 69-70. Notwithstanding, as explained above Plaintiff alleges that he

                                                                                25 "created a Plex account using the 'Continue with Facebook' button." See id., at ¶ 64. Based on the

                                                                                26 cases listed above, Plaintiff does not have standing to represent a class of Plex users that created a

                                                                                27 Plex account via a method other than Facebook. As such, Plaintiff's proposed class definitions are

                                                                                28 too broad. Also, as explained, infra, Plaintiff is unable to certify a class under Fed. R. Civ. P. 23.

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                                                                                 1            “Certification under Rule 23(b)(1)(A) is… not appropriate in an action for damages.” Zinser

                                                                                 2 v. Accufix Research Institute, Inc., 253 F.3d 1180, 1193 (9th Cir.2001). Here, the primary relief

                                                                                 3
                                                                                     sought is monetary damages. To be sure, Plaintiff brings a Two Count Complaint seeking "statutory
                                                                                 4
                                                                                     damages of $2,500 for each violation of the VPPA pursuant to 18 U.S.C. § 2710(c)", and "statutory
                                                                                 5
                                                                                     damages of $500 for each violation of the Cal. Civ. Code §1799.3" and "punitive damages[.]" See
                                                                                 6
                                                                                     FAC, at ¶¶ 87, 96; see also Prayer For Relief. As such, Plaintiff cannot certify a class under Fed. R.
                                                                                 7

                                                                                 8 Civ. P. 23(b)(1)(A). Furthermore, certification under Rule 23(b)(1)(B) is only appropriate if "the

                                                                                 9 case involves a 'fund'[.]" As such, Plaintiff cannot certify a class under Fed. R. Civ. P. 23(b)(1)(B)

                                                                                10 because this action does not include a fund. See FAC, generally.

                                                                                11
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                                                                                              Certification under Fed. R. Civ. P. 23(b)(2) “does not extend to cases in which the
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                                                                                     appropriate final relief relates exclusively or predominantly to money damages.” See Advisory
                                                                                13
                                                                                     Committee Notes, 39 F.R.D. 69, 102 (1966); see also Lyon v. United States Immigr. & Customs
                                                                                14

                                                                                15 Enf't, 300 F.R.D. 628, 642 (N.D. Cal. 2014) ("Claims for individualized relief do not satisfy Rule

                                                                                16 23(b)(2)") (citations omitted). Here, Plaintiff will be unable to satisfy Rule 23(b)(2) because, as

                                                                                17 explained above, the primary relief sought is damages. Furthermore, each claim for relief is

                                                                                18
                                                                                     individualized because Plaintiff alleges he and each class member are entitled to statutory damages
                                                                                19
                                                                                     under the VPPA and Cal. Civ. Code §1799.3 "for each violation." Accordingly, based on Plaintiff's
                                                                                20
                                                                                     own standard, each class member will need to provide evidence of each visit to the Plex Solution to
                                                                                21
                                                                                     prove alleged damages, which drastically varies per class member. Furthermore, Plaintiff admits
                                                                                22

                                                                                23 that each class member had different personal information allegedly compromised, including their

                                                                                24 "unique, page-specific, unencrypted Facebook ID ['FID']." See FAC, at ¶ 34. As such, to prove that

                                                                                25 the video watching history the Meta Pixel allegedly collected is personally identifiable, each class

                                                                                26
                                                                                     member will need to provide individual proof their "Facebook profile is publicly accessible and
                                                                                27
                                                                                     includes sufficient identifying information", including "name, gender, birthday, place of residence,
                                                                                28

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                                                                                 1 career, education history, photographs, and content of posts", and "[c]ontrol [of] who can see [their]

                                                                                 2 Facebook page…(private profiles may not be viewable even if someone has the FID)." See

                                                                                 3
                                                                                     Heerde v. Learfield Commc'ns, LLC, No. 2:23-CV-04493-FLA (MAAX), 2024 WL 3573874, at *4
                                                                                 4
                                                                                     (C.D. Cal. July 19, 2024) (dismissing VPPA class action). 3 As such, damages are not capable of
                                                                                 5
                                                                                     computation by means of an objective standard. Similarly, certification under Fed. R. Civ.
                                                                                 6
                                                                                     P. 23(b)(3) is only appropriate if questions of law or fact common to the members of the class
                                                                                 7

                                                                                 8 predominate over any questions affecting only individual members, and that a class action is

                                                                                 9 superior to other available methods for the fair and efficient adjudication of the controversy. Courts

                                                                                10 must therefore separate the issues subject to “generalized proof” from those subject to

                                                                                11
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                                                                                     “individualized proof. "AdTrader, Inc. v. Google LLC, No. 17-CV-07082-BLF, 2020 WL 1922579,
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                                                                                     at *15 (N.D. Cal. Mar. 24, 2020). Where an individualized causation issue would predominate over
                                                                                13
                                                                                     a case, courts have denied class certification. Poulos v. Caesars World, Inc., 379 F.3d 654, 658 (9th
                                                                                14

                                                                                15 Cir. 2004); Tourgeman v. Collins Fin. Servs., Inc., No. 08-CV-1392 JLS (NLS), 2011 WL 5025152,

                                                                                16 at *16 (S.D. Cal. Oct. 21, 2011). The presence of class members who suffered no injury at all may

                                                                                17 defeat predominance. Ngethpharat v. State Farm Mut. Ins. Co., 339 F.R.D. 154, 169 (W.D. Wash.

                                                                                18
                                                                                     2021). Here, as explained above generalized proof could not resolve a significant aspect of the case
                                                                                19
                                                                                     in a single adjudication; rather, individual proof is required. Because, as Plaintiff admits, the
                                                                                20
                                                                                     circumstances of each class member is "unique", it would be practically impossible that the outcome
                                                                                21
                                                                                     as to the class would be consistent with that of the cases if adjudicated individually.
                                                                                22

                                                                                23 VIII. THE COURT SHOULD DISMISS THIS ACTION PURSUANT TO RULE 12(b)(6)
                                                                                         BECAUSE THE CLASS ACTION WAIVER IS ENFORCEABLE
                                                                                24
                                                                                     3
                                                                                25       A violation of the VPPA or California Civil Code § 1799.3 requires disclosure of personally
                                                                                26 identifiable information. Plaintiff fails to allege his FID is personally identifiable because he fails

                                                                                27
                                                                                     to list the factors in Heerde. See FAC, generally. Accordingly, Plaintiff's claims must be dismissed.
                                                                                28

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                                                                                 1            At the time Plaintiff initially entered into the Sign-In Wrap Agreement in or around April

                                                                                 2 2020, Plex's TOS included a Class Action Waiver which bars his claims. See Declaration of Ricardo

                                                                                 3 Castro, at ¶ 29; Ex. A. It "is well-established that parties can agree to class action waivers.” AT&T

                                                                                 4 Mobility LLC v. Concepcion, 563 U.S. 333, 334 (2011). In California, "class action waivers are not

                                                                                 5 unconscionable and are enforceable." Lewis v. UBS Fin. Servs. Inc., 818 F. Supp. 2d 1161, 1166

                                                                                 6 (N.D. Cal. 2011); see also Sheppard v. Staffmark Inv., LLC, No. 20-CV-05443-BLF, 2021 WL

                                                                                 7 690260, at *7 (N.D. Cal. Feb. 23, 2021) (same). “[T]he enforceability of a procedural device, like a

                                                                                 8 class action waiver, should be resolved… by way of a motion to dismiss.” Roman v. Spirit Airlines,

                                                                                 9 Inc., 482 F. Supp. 3d 1304, 1311 (S.D. Fla. 2020), aff'd, No. 20-13699, 2021 WL 4317318 (11th

                                                                                10 Cir. Sept. 23, 2021). Here, by entering into the Sign-In Wrap Agreement, Plaintiff consented to the

                                                                                11 TOS and Class Action Waiver, which provides, in pertinent part:
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                                                                                12            You and Plex agree to only bring claims arising from this TOS on an individual
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                                                                                              basis and not as a plaintiff or a class member in any purported class or representative
                                                                                13            action or proceeding. Unless you and Plex agree otherwise, more than one person's
                                                                                              or party's claims may not be consolidated.
                                                                                14

                                                                                15 (the "Class Action Waiver"). See Declaration of Ricardo Castro, at ¶ 30; Ex. A. Where "plaintiff

                                                                                16 waived [his] right to participate in a class in court or arbitration, the Court…dismisses plaintiff's

                                                                                17 class action claims.” Fontaine v. Resurgent Capital Services, Inc. 540 F. Supp. 3d 353, 362

                                                                                18
                                                                                     (W.D.N.Y. May 19, 2021) (internal quotation omitted); see also Ahlstrom v. DHI Mortg. Co. GP,
                                                                                19
                                                                                     Inc., No. 17-CV-04383-BLF, 2018 WL 6268876, at *4 (N.D. Cal. Nov. 30, 2018) ("Finally, the
                                                                                20
                                                                                     Court finds it appropriate to dismiss the case without prejudice. The MAA includes a valid class
                                                                                21

                                                                                22 action waiver[.]"); Hovis v. Homeaglow, Inc., No. 323CV00045BTMWVG, 2023 WL 5003583, at

                                                                                23 *5 (S.D. Cal. Aug. 4, 2023) (same); Villamar v. Clean Harbors Env't Servs. Inc., No.

                                                                                24 222CV03966MEMFJEMX, 2022 WL 4465549, at *3 (C.D. Cal. Sept. 23, 2022) (same). Here, based

                                                                                25 on above, Plaintiff cannot maintain a class action.

                                                                                26
                                                                                     IX.      THE COURT SHOULD DISMISS THIS ACTION PURSUANT TO RULE 12(B)(3)
                                                                                27            BECAUSE THE ARBITRATION AGREEMENT IS ENFORCEABLE

                                                                                28            A.        The Arbitration Agreement is Governed by the Federal Arbitration Act.

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                                                                                 1            At the time Plaintiff initially entered into the Sign-In Wrap Agreement in or around April

                                                                                 2 2020, Plex's TOS included an Arbitration Agreement, which provides, in pertinent part:

                                                                                 3            ARBITRATION. You agree that all disputes between you and Plex…with regard to
                                                                                              your relationship with Plex, including, without limitation, disputes related to this
                                                                                 4            TOS, your use of the Plex Solution, and/or rights of privacy and/or publicity, will be
                                                                                              resolved by binding, individual arbitration… any disputes arising with respect to
                                                                                 5
                                                                                              this TOS between you and Plex…shall be referred to an arbitrator affiliated with the
                                                                                 6            Judicial Arbitration and Mediation Services, Inc. (“JAMS”)… Arbitration shall be
                                                                                              conducted under the rules then prevailing of JAMS/ENDISPUTE Streamlined
                                                                                 7            Arbitration Rules and Procedures in effect at the time of filing of the demand
                                                                                              for arbitration…Neither you nor Plex will participate in a class-wide arbitration for
                                                                                 8            any claims covered by this TOS. This dispute resolution provision will be governed
                                                                                              by the Federal Arbitration Act ["FAA"].
                                                                                 9

                                                                                10 (the "Arbitration Agreement"). See Declaration of Ricardo Castro, at ¶¶ 29,31; Ex. A. "The U.S.

                                                                                11 Supreme Court has held that, through the FAA, 'Congress declared a national policy favoring
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                                                                                12 arbitration.'" Southland Corp. v. Keating, 465 U.S. 1, 10 (1984); Buckeye Check Cashing, Inc. v.
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                                                                                13
                                                                                     Cardegna, 546 U.S. 440, 443 (2006). The FAA "leaves no room for the exercise of discretion by a
                                                                                14
                                                                                     district court, but instead mandates that district courts shall direct the parties to proceed to arbitration
                                                                                15
                                                                                     on issues as to which an arbitration agreement has been signed." Dean Witter Reynolds, Inc. v. Byrd,
                                                                                16

                                                                                17 470 U.S. 213, 214 (1985). Pursuant to Section 2 of the FAA, a written provision in any contract

                                                                                18 evidencing a transaction "involving commerce" to settle by arbitration a controversy thereafter

                                                                                19 arising out of such contract or transaction shall be valid, irrevocable, and enforceable. 9 U.S.C. § 2.

                                                                                20
                                                                                     As the U.S. Supreme Court has made clear, the "involving commerce" language within Section 2 of
                                                                                21
                                                                                     the FAA is broad, and does not mean "in commerce" but rather "affecting commerce." Allied-Bruce
                                                                                22
                                                                                     Terminix Cos. v. Dobson, 513 U.S. 265, 273-274 (1995). "In Commerce" includes "the generation
                                                                                23
                                                                                     of goods and services for interstate markets and their transport and distribution to the consumer."
                                                                                24

                                                                                25 Id., at 273. Furthermore, pursuant to Section 4 of the FAA, " a party aggrieved by the alleged failure,

                                                                                26 neglect, or refusal of another to arbitrate under a written agreement for arbitration may petition…for

                                                                                27 an order directing that such arbitration proceed in the manner provided for in such agreement." 9

                                                                                28
                                                                                     U.S.C. § 4. "Upon being satisfied that the making of the agreement for arbitration or the failure to

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                                                                                 1 comply therewith is not in issue, the court shall make an order directing the parties to proceed to

                                                                                 2 arbitration in accordance with the terms of the agreement." Id. Here, the Plex Solution involves

                                                                                 3
                                                                                     commerce and the FAA applies because Plex allows users to view or otherwise access text, graphics,
                                                                                 4
                                                                                     photos, sounds, and videos in the form of news reports, videos, and music over the Internet. See
                                                                                 5
                                                                                     Declaration of Ricardo Castro, at ¶ 5. As such, all of Plaintiff's claims must be sent to arbitration.
                                                                                 6
                                                                                              B.        The Arbitration Agreement encompasses Plaintiff's claims
                                                                                 7

                                                                                 8            As the U.S. Supreme Court has made clear, pursuant to the FAA, “any doubts concerning

                                                                                 9 the scope of arbitrable issues should be resolved in favor of arbitration.” Moses H. Cone Mem'l

                                                                                10 Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983). Furthermore, as explained, supra, this

                                                                                11 Court in Miller held that Plex's Arbitration Agreement is binding and enforceable and therefore
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                                                                                12 granted Plex's motion to compel arbitration. See Id., Case No. 5:22-cv-5015-SVK, ECF No. 32, pg.
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                                                                                13 22-23. In doing so, this Court in Miller first held “unlike the arbitrability of claims in general,

                                                                                14 whether the court or the arbitrator decides arbitrability is ‘an issue for judicial determination unless

                                                                                15 the parties clearly and unmistakably provide otherwise.’” Id., at pg. 22 (quoting Mohamed v. Uber

                                                                                16 Techs., Inc., 848 F.3d 1201, 1208 (9th Cir. 2016)) (citation omitted). This Court in Miller held

                                                                                17 "Plex’s TOS include a delegation clause by virtue of its incorporation by reference of the JAMS

                                                                                18 Streamlined Arbitration Rules" and "the arbitration agreement clearly and unmistakably

                                                                                19 delegates questions of arbitrability to the arbitrator through its incorporation of the JAMS

                                                                                20 Streamlined Arbitration Rules & Procedures." Id. (citing Brennan, 796 F.3d at 1130-32) (holding

                                                                                21 that incorporation of AAA rules constituted clear and unmistakable evidence that the parties agreed

                                                                                22 to arbitrate arbitrability); White v. Ring LLC, No. 22-cv-6909, 2023 WL 1097554, at *6 (C.D. Cal.

                                                                                23 Jan. 25, 2023) (same, as to incorporation of JAMS rules). Here, all of Plaintiff's claims encompasses

                                                                                24 the Arbitration Agreement because it covers "all disputes" and "any disputes" relating to the use of

                                                                                25 the Plex Solution, including questions of arbitrability. Accordingly, given that the Arbitration

                                                                                26 Agreement covers all of Plaintiff's claim, this matter should be dismissed and be sent to arbitration.

                                                                                27 See Castaldi v. Signature Retail Servs., Inc., No. 15-CV-00737-JSC, 2016 WL 7042991, at *1 (N.D.

                                                                                28 Cal. Jan. 20, 2016) ("Courts in this District regularly dismiss actions after granting motions to

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                                                                                 1 compel arbitration where all…claims were subject to arbitration.") (listing cases).

                                                                                 2 X.         ALTERNATIVELY PURSUANT TO RULE 12(B)(3) THIS MATTER SHOULD BE
                                                                                              TRANSFERRED TO DELAWARE IF THE AMENDED TOS ARE CONTROLLING
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                                                                                              As explained, supra, the TOS is controlling because consistent with Stover and Nguyen, Plex
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                                                                                     did not notify its existing users, including Plaintiff, of the April 11, 2024 update to its TOS (see
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                                                                                     Declaration of Ricardo Castro, ¶42) and Plaintiff defines both the Nationwide Class and California
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                                                                                     Subclass as those users who used the Plex Solution up and until March 2, 2024, which is prior to
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                                                                                     the amendment (See FAC, at ¶¶ 69-70). Notwithstanding, if this Court determines the Amended
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                                                                                     TOS is controlling (which it should not), venue is still improper and this Court should transfer this
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                                                                                     action to the United States District Court for the District of Delaware. Pursuant to 28 U.S.C. §
                                                                                10
                                                                                     1404(a), "a district court may transfer any civil action to any other district or division where it might
                                                                                11
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                                                                                     have been brought or to any district or division to which all parties have consented." Id. 28 U.S.C.
                                                                                12
                                        501 WEST BROADWAY, SUITE 1200
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                     § 1404(a) "permits transfer…to any other district to which the parties have agreed by contract or
                                                                                13
                                                                                     stipulation" and "a forum-selection clause may be enforced by a motion to transfer under § 1404(a)."
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                                                                                     Wang, 2019 WL 13201949, at *5 (quoting Atlantic Marine Const. Co. v. U.S. Dist. Court, 571 U.S.
                                                                                15
                                                                                     49, 59 (2013)), Here, the Amended TOS contains a forum selection clause, which provides, in part:
                                                                                16
                                                                                              Subject to the foregoing informal dispute resolution, any action arising from or in
                                                                                17
                                                                                              any way related to the Plex Solution, your use of or access to the Plex Solution, or
                                                                                18            this TOS will be brought in the courts presiding in the state of Delaware, and all
                                                                                              parties to this TOS expressly agree to be subject to the jurisdiction of such courts.
                                                                                19
                                                                                     See Declaration of Ricardo Castro, at ¶ 33; Ex. E. Here, the forum selection clause overs "any action"
                                                                                20
                                                                                     relating to the use of the Plex Solution, including Plaintiff's claims which give rise to this action.
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                                                                                     Accordingly, if this Court determines the Amended TOS is controlling (which it should not) this
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                                                                                     Court should transfer this action to the United Stated District Court for the District of Delaware.
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                                                                                       DEFENDANT PLEX, INC.'S AND GMBH'S NOTICE OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                                                                       Case 5:24-cv-02386-PCP Document 22 Filed 08/19/24 Page 36 of 37




                                                                                 1 XI.        CONCLUSION

                                                                                 2            WHEREFORE, Plex requests this court dismiss this matter in its entirely and strike class

                                                                                 3 allegations; or alternatively compel arbitration; or alternatively transfer this matter to the United

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                                                                                     Stated District Court for the District of Delaware. Plex seeks such further relief as appears lawful,
                                                                                 5
                                                                                     equitable, and just.
                                                                                 6

                                                                                 7
                                                                                     DATED: August 19, 2024                     WOOD, SMITH, HENNING & BERMAN LLP
                                                                                 8

                                                                                 9

                                                                                10                                              By:          /s/ Jacob P. Wilson
                                                                                                                                             JACOB P. WILSON
                                                                                11
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                                                                                                                                             SEAN V. PATEL
                                                                                13                                                           (Pro Hac Vice Admission Forthcoming)
                                                                                                                                             Attorneys for Defendants, PLEX, INC.,
                                                                                14                                                           AND PLEX GMBH
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                                                                                      DEFENDANT PLEX, INC.'S AND GMBH'S NOTICE OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                                                                       Case 5:24-cv-02386-PCP Document 22 Filed 08/19/24 Page 37 of 37




                                                                                 1                                     CERTIFICATE OF SERVICE

                                                                                 2            I hereby certify that on this 19 day of August, 2024, I electronically filed the foregoing

                                                                                 3 DEFENDANT PLEX, INC.'S AND PLEX GMBH'S NOTICE OF MOTION TO DISMISS

                                                                                 4 FIRST AMENDED COMPLAINT AND STRIKE CLASS ALLEGATIONS, OR IN THE

                                                                                 5 ALTERNATIVE TO COMPEL ARBITRATION ON AN INDIVIDUAL BASIS OR

                                                                                 6 TRANSFER VENUE; AND MEMORANDUM OF POINTS AND AUTHORITIES with the

                                                                                 7 Clerk of the Court using the CM/ECF system which will send notification of such filing to the

                                                                                 8 following:

                                                                                 9    Neal J. Deckant, Esq.                         ATTORNEYS FOR PLAINTIFF
                                                                                      Joshua R. Wilner, Esq.
                                                                                10    Joshua B. Glatt, Esq.
                                                                                      BURSOR & FISHER, P.A.
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                                                                                18                                                    /s/ Teresa Cabanday
                                                                                                                                      Teresa Cabanday
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